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COMMITI`ED NAME (if different)

 

 

    

 

 

 

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FULL ADDRESS INCLUDING NAME OF lNSTlTUTION - s
P.o.Box 3535,NoRco,cA,92860 CENTRALD,STR,CT
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#T-71768

.i PRlsoN NuMBER (ifapplicable)

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

CASENUMBER
ED cv-11-648(SJO)SP
wILL:E MARSHALL FANT ig TobesuppliedbytheClerk
PLAINTIFF, "SECoND AMENDED coMPLAINT"
, V' CIVIL RIGHTS COMPLAINT
DEPUTIES;MoRIN,cIRILo,GRIER,HUZINGA PURSUANTTO(C,,eCk,,,,e)

m 42 U.s.c. § 1983
DWWMM@'mummvwmmwM@mmumewm

 

A. PREVIOUS LAWSUITS
1. Have you brought any other lawsuits in a federal court while a prisoner: |:| Yes |B/No
2. If your answer to “1.” is yes, how many?

Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
attached piece of paper using the same outline .)

 

 

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CIVIL RIGHTS COMPLAINT b
CV-66 (7/97) Page 1 of 6

 

' /r
~ 'Case 5:11-@\/-00643-330&3§ Document 36 Filed 11/10/11 Fage 2 of a Page lD #:239

a. Parties to this previous lawsuit:
Plaintiff

 

 

Defendants

 

 

b. Court

 

 

Docket or case number

 

d. Name of judge to whom case was assigned

 

e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it

appealed? Is it still pending?)

 

f. Issues raised:

 

 

 

g. Approximate date of filing lawsuit:

 

h. Approximate date of disposition

 

B. EXHAUSTION OF ADMINISTRATIVE REMED[ES

l. Is there a grievance procedure available at the institution where the events relating to your current complaint
occurred? M'Yes L`_l No

2. Have you filed a grievance concerning the facts relating to your current complaint? |Zl/Yes l:| No

 

/ If your answer is no, explain why not

 

 

3. Is the grievance procedure completed? |\Z(Yes El No

If your answer is no, explain why not

 

 

4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION
This complaint alleges that the civil rights of plaintiff V\i i \_i_i 2 i:A i\iT

(print plaintist name)

Who presentlyresides at C a C (|(9(/) ¢;)~iLOW> FU @U)L 55 7>5 NU¥ZCD,E’A qli;)(¢?@ ,

(ma1l11'1g address or place of confiriement)
were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

$mmv\lrst strained restrrr/ Mtlrla\m\

(1nst1tut1on/c1ty where violation occurred)

 

CIVIL RIGHTS COMPLAINT
CV-66 (7/97) Page 2 of 6

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on (date`or dates) m / iii /i 0 ,

_ (Ciaim 1) (ciaim ii) ’ (Ciaim iii)

NOTE: You need not name more than one defendant or allege more than one claim. If you are naming more than
five (5) defendants, make a copy of this page to provide the information for additional defendants

l. Defendant DEVUT{ Mé MDQ\!J resides or works at

 

 

Siieairr harm

(detcndant's position and title, if any)

The defendant is sued in his/her (Check one or both): 121/individual I] official capacity.

Explain how this defendant was acting under color of law: '

 

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2. Defendant DEVUT`{ HU`Z\N£\A resides or works at

(full name of first defendant)

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(full address of first defendant)

S\iraia¢ De'aii\{

(defendant's position and title, if any)

     

The defendant is sued in his/her (Check one or both): lid/individual |:l official capacity.

Explain how this defendant was acting under color of law:

 
       

i. ` '~ x ~'/"

3. Defendant OE io\.lT`{ [,\\z\ LD l ' resides or works _at

(full name of first defendant)

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(full address of first defendant)

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(defendaiit's position and title, if any)

The defendant is sued in his/her (Check one or both): bfi/individual l:l official capacity.

j - Explain how this defendant was acting under color of law:

 

 

CIVIL RIGHTS COMPLAINT

CV-66 (7/97) Page 3 of 6

 

' base 5:11-0V-OOG48-SJO§SE§ Document 36 Filed 11/10/11 Page 4 of 8 Page |D #:241

4. ,, Defendant DE V\l`l"{ `(Glz~\ E iL resides or works at

full name of first defendant)

zeiss ~ 1?>~- into ?\n 1 Miilaie:T/i 1 i:A. diana

(full address of first defendant)

3116@1 eli ocean

(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): |_V_Kindividual El official capacity.

Explain how this defendant was acting under color of law:

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5. Defendant resides or works at

 

(full name of first defendant)

 

(full address of first defendant)

 

(dcfendant's position and title, if anyj

The defendant is sued in his/her (Check one or both): |:| individual II] official capacity.

Explain how this defendant was acting under color of law:

 

 

 

CIVIL RIGHTS COMPLAINT

CV-66 (7/97) Page 4 of 6

 

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D. CLA]]VIS*
CLAIM I

The following civil right has been_violated:

 

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Supporting Facts: Include all facts you consider important State the facts clearly, in your own words, and without
citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
DEFENDANT (by name) did to violate your right.
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*If there is more than one claim, describe the additional claim(s) on another attached piece of paper using the same
outline

 

 

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‘E. RE`QUEST FOR RELIEF

* I believe that l am entitled to the following specific relief:

 

 

 

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_ (Date) (Signature of Plaintijj

 

CIVIL RIGHTS COMPLAINT
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